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                        UNITED STATES DISTRICT COURT
                            DISTRICT OF MONTANA
                             MISSOULA DIVISION

 BRAD WIEDER and                                     CAUSE NO. _______
 LEON WIEDER,

               Plaintiffs                     COMPLAINT and DEMAND FOR
                                                     JURY TRIAL
 v.

 MISSOULA LIVESTOCK
 EXCHANGE, LLC, JOE SEYMOUR,
 CAMILLE COUGHLIN, JAY
 COUGHLIN, RICHARD SMITH,
 VERN GRABOW, VIC RALLS,
 ANDREW JACKSON, CRAIG
 BRITTON and DOES 1-5.

             Defendants.

      COMES NOW, Plaintiffs, Brad Wieder and Leon Wieder and in Complaint

against the Defendants and for certain relief, alleges and states that the Defendants

have knowingly engaged in deceit, unjust enrichment, breach of the covenant of

good faith and fair dealing, negligent infliction of emotional distress and breach of

contract by enticing Plaintiffs to pay a large sum of money for cattle which the

Defendants never produced and never intended to produce.



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                                        PARTIES

      1.      Plaintiff Brad Wieder is a resident of and domiciled in Charlo,

Montana, Lake County and a citizen of the state of Montana and the United States.

Brad Wieder is a citizen of a state other than the state of citizenship of one of the

defendants.

      2.      Plaintiff Leon Wieder is a resident of and domiciled in Charlo,

Montana, Lake County and a citizen of the state of Montana and the United States.

Leon Wieder is a citizen of a state other than the state of citizenship of one of the

defendants.

      3.      Defendant Missoula Livestock Exchange, LLC is a Montana firm with

its principal place of business in Missoula, Montana. Defendant Missoula

Livestock Exchange, LLC is a citizen of the state of Montana because it is

incorporated in Montana.

      4.      Defendant Joe Seymour is a resident and domiciled in Butte, Montana

and a citizen of the state of Montana and the United States.

      5.      Defendant Camille Coughlin is a resident and domiciled in Helmville,

Montana and a citizen of the state of Montana and the United States.

      6.      Defendant Jay Coughlin is a resident and domiciled in Helmville,

Montana and a citizen of the state of Montana and the United States.

      7.      Defendant Richard Smith is a resident and domiciled in Stevensville,


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Montana and a citizen of the state of Montana and the United States.

       8.     Defendant Vern Grabow is a resident and domiciled in Oro Valley,

Arizona and a citizen of the state of Arizona and the United States. Vern Grabow

is a citizen of a state other than the state of citizenship of each plaintiff.

       9.     Defendant Vic Ralls is a resident and domiciled in Florence, Montana

and a citizen of the state of Montana and the United States.

       10.    Defendant Andrew Jackson is, to the best of our knowledge, a resident

and domiciled in Missoula, Montana and a citizen of the state of Montana and the

United States.

       11.    Defendant Craig Britton is a resident and domiciled in Missoula,

Montana and a citizen of the state of Montana and the United States.

                              JURISDICTION AND VENUE

       12. Because some of Defendants’ activities giving rise to this Complaint

were in violation of Federal law and because defendant Grabow resides in Arizona

and the amount in controversy exceeds $75,000, diversity and the Federal dollar

requirement in controversy are present. Therefore, jurisdiction and venue are

properly in this Court pursuant to 28 U.S.C. § 1332.

       13.    Because the Plaintiffs and one of the Defendants are citizens of and

domiciled in different states, diversity of citizenship is established pursuant to 28

U.S.C. § 1332.



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      14.     The diversity jurisdiction “amount in controversy” requirement is

satisfied because Plaintiffs, both collectively and individually, seek in excess of

$75,000. As such, the Court possesses original jurisdiction over Plaintiffs’ claims

unless it appears “to a legal certainty that the claim is really for less than the

jurisdictional amount”. St. Paul Indem. Co. v. Red Cab. Co., 303 U.S. 283, 289

(1938).

      15.     This Court has original jurisdiction over this matter pursuant to 28

U.S.C. § 1332(a), due to the diversity of citizenship between the parties, being that

one of the Defendants is a citizen of a state other than the state of citizenship of

each plaintiff, and the fact that the amount in controversy exceeds $75,000,

exclusive of interest and costs.      This Court has personal jurisdiction over

Defendants herein in that each entity, individually or through its employee(s),

representative(s) and/or agent(s) of the names entities have subjected themselves to

the jurisdiction of this Court.

      16.     Venue is proper in this Court because Defendants have violated laws

of the state of Montana within Montana, have obligated themselves to the Plaintiffs

within Montana, and have specifically chosen to maintain a corporate presence

within and substantial contacts with the state of Montana.

      17.     Defendants have violated both state and Federal laws governing the

sale of livestock including, but not limited to, violation of the Administrative Rules



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(32), Montana Code Annotated (81) CFR (9) and the USDA Federal Packers and

Stockyard Act. Additionally, Defendants, in using the phone lines have violated

Federal Communication laws.



                                    COUNT I – DECEIT

          18.   Plaintiffs reallege paragraphs 1 through 17 as if repeated verbatim,

and by this reference incorporates said allegations herein.

          19.   Defendants represented to the Plaintiffs that for a sum certain, the

Defendants would provide a one-brand herd of cattle.

          20.   Defendants intended for the Plaintiffs to rely on their representation

that cattle would be presented in exchange for a sum certain. Defendants provided

photographs of the cattle.

          21.   Plaintiffs did not know that the Defendants’ representations were

false.

          22.   Plaintiffs, in reliance on the Defendants’ representations, took out a

loan and paid good and full consideration to the Defendants for the promised

cattle.

          23.   Deceitfully, knowingly and after cashing the Plaintiffs’ check, the

Defendants did not produce any cattle.



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      24.    The Defendants purposeful failure to produce the promised cattle

violates both state (Department of Livestock) and Federal (Department of

Livestock) laws.

      25.    The Plaintiffs were damaged by the Defendants’ deceitful

misrepresentation when the promised cattle were never produced.

                     COUNT II – BREACH OF CONTRACT

      26.    Plaintiffs reallege paragraphs 1 through 25 as if repeated verbatim,

and by this reference incorporates said allegations herein.

      27.    Defendants promised to produce cattle to the Plaintiffs in exchange

for a sum certain.

      28.    Plaintiffs promised to pay and did pay to the Defendants a sum certain

in exchange for the promised cattle.

      29.    Defendants did not produce the promised cattle but took Plaintiffs

money.

      30.    Defendants breached their verbal contract/promise.

  COUNT III – NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS

      31.    Plaintiffs reallege paragraphs 1 through 30 as if repeated verbatim,

and by this reference incorporates said allegations herein.



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       32.    Defendants’ failure to produce the promised cattle has caused, and

continues to cause, the Plaintiffs’ severe emotional distress.

       33.    Plaintiffs have experienced severe emotional distress caused by the

Defendants’ failure to honor their word binding them to the contract.

       34.    Defendants have caused severe emotional distress to the Plaintiffs

through financial devastation.

                     COUNT IV –UNJUST ENRICHMENT

       35.    Plaintiffs reallege paragraphs 1 through 34 as if repeated verbatim,

and by this reference incorporates said allegations herein.

       36.    Defendants unjustly enriched themselves by enticing the Plaintiffs

into paying Defendants a sum certain for cattle that the Defendants did not

produce.

       37.    Defendants have received a sum certain of money – money which

they still have – while simultaneously not producing the promised cattle.

       38.    Defendants have unjustly enriched themselves to the severe detriment

of the Plaintiffs.

       COUNT V – BREACH OF THE COVENANT OF GOOD FAITH

                              AND FAIR DEALING



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      39.     Plaintiffs reallege paragraphs 1 through 38 as if repeated verbatim,

and by this reference incorporates said allegations herein.

      40.     Defendants, by withholding the promised cattle and taking the money

from Plaintiffs for the cattle, did not act in good faith.

      41.     Defendants, by withholding the promised cattle while simultaneously

taking money from the Plaintiffs, have breached the Covenant of Good Faith and

Fair Dealing.

      42.     Plaintiffs’ have been severely damaged because of the Defendants’

breach.

      43.     Defendants’ actions and breach are punitive.

                           COUNT VI – NEGLIGENCE

      44.     Plaintiffs reallege paragraphs 1 through 43 as if repeated verbatim,

and by this reference incorporates said allegations herein.

      45.     Defendants were negligent in their supervision of their employees and

conducting their business.

      46.     Defendants were negligent in providing for Plaintiffs’ best interest.

                               COUNT VII – FRAUD

      47.     Plaintiffs reallege paragraphs 1 through 46 as if repeated verbatim,



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and by this reference incorporates said allegations herein.

       48.    Defendants fraudulently conducted themselves in lying about cattle

available for sale, taking the Plaintiffs’ money for cattle they had no intention of

producing and leaving the Plaintiffs financially devastated.

       49.    Defendants misrepresented cattle for sale to the Plaintiffs.

       50.    Defendants falsely asserted they had a one brand herd of cattle to sell

to the Plaintiffs.

       51.    Defendants’ false assertion they had cattle to sell was a material

component to the agreement with the Plaintiffs.

       52.    Defendants knew or should have known that the representation of

cattle to sell the Plaintiffs was false. They continue to know that the representation

of cattle to sell was false because the cattle have never been produced, yet

Defendants have kept the Plaintiffs’ money.

       53.    Defendants intended to procure money from the Plaintiffs for cattle

that were never produced and remain not produced to this day. Plaintiffs relied

upon Defendants’ promise to sell a one brand cattle herd because Plaintiffs paid the

money.

       54.    Defendants’ intent on misleading the Plaintiffs into paying money for

a cattle herd that Defendants never intended to produce was completely unknown


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to the Plaintiffs.    The Plaintiffs were entirely ignorant of the Defendants’

misrepresentations because the Defendants showed the Plaintiffs pictures of cattle

the Defendants said was the herd they were to receive.

      55.    The Plaintiffs relied on the Defendants’ lies, misrepresentations,

deceit and fraudulent presentation of a cattle herd for sale as evidenced by the

Plaintiffs’ payment for the cattle.

      56.    Plaintiffs had the right to rely upon the Defendants’ representation of

cattle for sale because the Defendants are in the business of selling cattle, the

representations were made by the Defendants’ employee/agent/representative, the

representations were made on the Defendants’ property, the representations were

made using an electronic device listed on Defendants’ sales brochures and

Defendants held themselves out as a livestock company in the business of buying

and selling cattle.

      57.    Upon Defendants’ lies, misrepresentations, deceit and fraud, the

Plaintiffs subsequently and proximately suffered, including but not limited to,

injures that are both emotional and financial.

      58.    Defendants knew their employee/agent/field representative had

obtained money from other persons, not the Plaintiffs, in similar fraudulent ways

prior to the fraud committed against the Plaintiffs.



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      59. Defendants fraudulent actions met all of the elements comprising fraud:

      a) Defendants represented they had a one brand herd of cattle to sell;

      b) Defendants falsely represented they had cattle to sell to the Plaintiffs;

      c) Defendants false presentation that they had cattle to sell and would sell

those cattle to Plaintiffs was/is material to the agreement;

      d) Defendants had knowledge, or should have had knowledge, that the cattle

herd did not exist. They had knowledge that they were not going to produce cattle

to the Plaintiffs in exchange for payment from Plaintiffs. And, Defendants had

knowledge that their employee/agent/representative had made false representations

to Plaintiffs and that he accepted Plaintiffs’ money on their behalf and did not

produce the cattle.

      e)   The Defendants intended that Plaintiffs would rely upon their false

representations that they had cattle to sell and would produce those cattle upon

receipt of Plaintiffs’ money.

      f)     Plaintiffs were completely ignorant of the Defendants’ false

representations;

      g)    The Plaintiffs had a right to rely upon Defendants and their

employee/agent/representative’s representations which were false.

      h)   The Plaintiffs were consequently and proximately injured in their


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reliance on the Defendants’ false representations.

       60.       Defendants’ fraudulent activities have proximately caused injury and

damages to the Plaintiffs.

       WHEREFORE, Plaintiffs pray for relief and petition for:

       1.        Judgement against the Defendants.

       2.        An Order for repayment of the sum certain plus 10% interest.

       3.        Damages for emotional distress, lost business opportunity, pain and

suffering, humiliation, future losses, breach of contract, unjust enrichment, breach

of the covenant of good faith and fair dealing, deceit, punitive damages, financial

devastation and fraudulent activities.

       4.        Treble damages as allowed by deceit statutes.

       5.        Lost calf crops for each year the cattle were not produced.

       6.        Costs and reasonable attorney fees in being forced to bring this action.

       7.        Such other and further relief allowable by law, this Court and as the

jury sees fit.




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      Dated this 30th day of December, 2016.

                                                MORIN LAW FIRM, PLLC

                                                /s/ Tina L. Morin
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                                                125 West Granite Street, Suite 109
                                                Butte, Montana 59701
                                                Attorney for Plaintiffs




                           DEMAND FOR JURY TRIAL


      COMES NOW the Plaintiffs, Brad Wieder and Leon Wieder and demand a

trial by jury of all the issues in the above-entitled action.

      Dated this 30th day of December, 2016.

                                                MORIN LAW FIRM, PLLC

                                                /s/ Tina L. Morin
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